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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 LEROY WASHINGTON, on his own behalf, and
                                       )
 on behalf of a Class of those similarly situated,
                                       )
                                       )
         Plaintiffs,                   )
                                       )
                v.                     ) CAUSE NO. 1:16-cv-02980-JMS-DML
                                       )
 THE MARION COUNTY PROSECUTOR, in his ) COMPLAINT – CLASS ACTION
 official capacity,                    )
                                       )
 THE MAYOR OF THE CONSOLIDATED CITY )
 OF INDIANAPOLIS/MARION COUNTY, in his )
 official capacity, and                )
                                       )
 THE CHIEF OF THE INDIANAPOLIS         )
 METROPOLITAN POLICE DEPARTMENT, in )
 his official capacity,                )
                                       )
         Defendants.                   )

                    PLAINTIFFS MOTION FOR SUMMARY JUDGMENT

        COMES NOW Leroy Washington, on behalf of himself and all others similarly situated,

 by counsel, Jeff Cardella, and would move this Court pursuant to Rule 56(a) of the Federal Rules

 of Civil Procedure for summary judgment on the grounds that the pleadings, answers to

 interrogatories, affidavits, and stipulations of the parties show that there is no genuine issue as to

 any material fact and that Plaintiffs are entitled to judgment as a matter of law.

        Plaintiff has filed a Memorandum in Support of this motion. [Filing No. 32.]

        Wherefore, Plaintiff moves that this Court enter judgment declaring that IC § 34-24-1-

 2(a)(1) violates Due Process, issue a preliminary injunction and permanent injunction enjoining

 its enforcement, certify this case as a class action, and granting any further relief to which the

 Court may deem them entitled, including their costs and reasonable attorney fees pursuant to 42

 U.S.C. § 1988.
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                                                      /s/ Jeff Cardella
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                                                      Attorney for Plaintiffs

                                 CERTIFICATE OF SERVICE

         I hereby certify that on the February 21, 2017, a copy of the foregoing pleading was filed
 electronically upon the following parties by operation of the Court’s electronic filing system.
 Parties may access this filing through the Court’s system.

                                                      /s/ Jeff Cardella
                                                      Jeff Cardella

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